        Case 3:19-cr-00223-MPS Document 1-1 Filed 08/21/19 Page 1 of 7


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                             IINITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT
                                                                                     t0t9ÅtJ$?t p 33t
 IN THE MATTER OF THE ARREST OF Case No. 3:19CR
 NYEJIRE REDMOND
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                                            AFFIDAVIT

    I, Christopher Rettig, being duly sworn, depose and state:

        1.      I am a Special Agent employed by the Bureau of Alcohol, Tobacco, Firearms and

Explosives ("ATF"). As such, I am a law enforcement officer of the United States within the

meaning of Section 2510(7) of Title 18 of the United States Code; that is, an ofÍicer empowered

by law to conduct investigations of, and make arrests for, offenses enumerated in Section25l6 of

Title 18. I have been employed by ATF as a Special Agent since November, 2017. Previously, I

worked as an Anti-Money Laundering Investigator at Santander Bank in Boston, Massachusetts. I

graduated from Northeastern University, Magna Cum Laude in May 2015 with my Bachelors of

Science Degree in Criminal Justice. I am a graduate of the Criminal Investigator Training Program

and the ATF Special Agent Basic Training program, both of which are conducted at the Federal

Law Enforcement Training Center in Glynn County, Georgia.

        2.     I have received specialized training in firearms identification and the investigation of

firearms-related offenses. I have participated in investigations involving the unlawful possession

of firearms by prohibited persons, including persons who are previously convicted felons; the

possession of firearms in furtherance of the distribution of narcotics; and the use of firearms in the

commission of violent acts. I have participated in investigations involving individuals who

unlawfully possess firearms. I have provided testimony in Grand Jury proceedings and spoken

with informants and subjects, as well as local and federal law enforcement officers, regarding the

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        Case 3:19-cr-00223-MPS Document 1-1 Filed 08/21/19 Page 2 of 7




manner in which individuals obtain, finance, store, manufacture, transport, and distribute their

illegal firearms and drugs. I have received training, both formal and on-the-job, in the provisions

of the federal firearms and narcotics laws administered under Titles 18,2I and 26 of the United

States Code.

       3.      I have participated in this investigation and, as a result of my participation and
information received from other law enforcement officers, I am thoroughly familiar with the

circumstances of the investigation and the information set forth in this affidavit. The statements

contained in this affidavit are based on: (1) my personal participation in the investigalion; (2)

information provided to me by Special Agents/Task Force Officers of the ATF and members of

the Stamford Police Department ("SPD"); (3) my experience and training.

       4.      I submit this affidavit in support of a criminal complaint and arrest warrant for
NYEJIRE REDMOND, DOB: XXlXXl2000.

       5.      I am the case agent in the investigation of REDMOND, and I submit this affrdavit

in support of a criminal complaint charging REDMOND with a violation of Title 18, United States

Code, Section 922(ì, Possession of a Stolen Firearm.

       6.      Because this affidavit is submitted for the limited purpose of establishing probable

cause for the requested criminal complaint, it does not include all information gathered to date by

the ATF and other law enforcement entities in relation to this investigation. Rather, it contains

information that I believe establishes probable cause to believe that REDMOND committed a

violation of 18 U.S.C. $$ 922(i).




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           Case 3:19-cr-00223-MPS Document 1-1 Filed 08/21/19 Page 3 of 7




A.     JANUARY 22,2019 ARRß,ST OF REDMOND IN STAMFORD, CT

        7.      The ATF New Haven Field Office is working in conjunction with the Stamford

Police Department ("SPD") in investigating REDMOND being in possession of a stolen firearm.

REDMOND is known to reside in New Haven, Connecticut.

        8.      The ATF New Haven Field Office is currently investigating the activities of

REDMOND, who goes by the street name "Polo," for the unlawful possession and of a stolen

firearm.

       9.       According to the Stamford Police Department, during the month of January 2019,

a known and reliable confidential informant (hereinafter, the "CI") told members of the Narcotics


&. Organized Crime Unit that a Hispanic male named "Vic" from the New Haven area was

currently in possession of multiple firearms and had multiple warrants for his arrest. The CI

showed members of the Stamford Police Department a Facebook page for "Vic," which page was

in the name of o'Victor DolIaz," and contained a picture. Members of the Stamford Police

Department then reached out to members of the New Haven Police Department and provided them

with the Facebook picture of o'Vic." The New Haven Police Department members recognized the

person in the photograph and identified him as Victor Berrios-Sanchez. The Stamford Police

Department confirmed that Berrios-Sanchez had at least one active warrant for violation of

probation.

        10.     On January 22,2019, the CI contacted the Stamford Police Department and stated

that Berrios-Sanchez would be traveling from New Haven to Stamford with several firearms that

Berrios-Sanchez would be selling/ trading to a black male. The CI stated that Benios-Sanchez

would be arriving at the Cheesecake Factory (located at 230 Tresser Boulevard in Stamford)




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        Case 3:19-cr-00223-MPS Document 1-1 Filed 08/21/19 Page 4 of 7




between 16:30 and 17:30. The CI also stated that Berrios-Sanchez would be coming in a light

grey Acura sedan and that there would be at least one additional person in the car.

        11.    At about 16:15 that same day, members of the Stamford Police Department took up

surveillance in the area of the Cheesecake Factory. At about l7:I0, officers saw a silver colored

two-door Acura sedan pull into the valetþlaza arca for the restaurant. There were at least two

Hispanic males in the driver and front passenger seats of the car. The car then pulled into a nearby

parking garage, then into a parking space. Stamford officers then observed three Hispanic males,

one appearing to be Berrios-Sanchez, exit the car. The three males opened the hood of the car and

acted as if they were fixing something with the vehicle.

        12.     Stamford officers then approached the silver Acura and confirmed that one of the

three males was, indeed, Berrios-Sanchez. The other two males were identified as Joel Cruz-

Berrios and John Medina. Officers observed that a fourth male (later identified as REDMOND)

was still sitting in the backseat of the Acura next to a two-year old child, who was asleep on the

seat but not in any sort of child restraint system.

        13.     Officers arrested and handcuffed Benios-Sanchez, at which time he stated that he

had two guns in his "pockets." Stamford officers then retrieved two firearms from Berrios-

Sanchez's interior jacket pockets: (1) a Heritage Rough Rider .22 caliber revolver loaded with six

rounds of ammunition and (2) a white gym sock containing (a) a Bauer firearms .25 caliber semi-

automatic handgun with an empty magazine and (b) three .25 caliber rounds of ammunition. Inside

of Berrios-Sanchez's wallet officers found six white glassine folds containing a powder that later

field tested positive for the presence of fentanyl.

        14.    After Stamford officers found the two firearms on Berrios-Sanchez, they placed

Joel Cruz-Berrios and John Medina in handcuffs for officer safety, and removed REDMOND from



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        Case 3:19-cr-00223-MPS Document 1-1 Filed 08/21/19 Page 5 of 7




the back seat of the Acura. As offrcers went to secure REDMOND's hands, he stated, "I got a gun

in my waist." Officers then retrieved a Smith and Vy'esson 1911 .45 caliber semi-automatic

handgun loaded with eight rounds of ammunition from the front waist band of REDMOND's

pants. The firearm was previously reported stolen on December 29,2018 from New Britain,

Connecticut.

        15.    Stamford Police Officers then arrested Victor Berrios-Sanchez, Joel Cruz-Berrios,

and REDMOND for violations of Connecticut state law, including criminal possession of a

firearm, theft of a firearm, weapons in a motor vehicle, possession of narcotics, and risk of injury

to a minor. Victor Berrios-Sanchez was also processed on his outstanding warrant for violation of

probation. Due to a medical condition. John Medina was transported to Stamford Hospital and

issued a misdemeanor summons for operating a motor vehicle under suspension and transporting

a child without a child restraint system.

B.    FEDERAL SEARCH \ilARRANT FOR CRUZ-BERRIOS' CELL PHONE

        16.    On February 8,2019, ATF S/A Sonentino submitted an affidavit in support of an

application and federal search warrant for CRUZ-BERRIOS' cellular device, identified as an

Apple iPhone Model41688, which was seized subsequent to his arrest on January 22,2019. On

February 12,2019, ATF S/A Oppenheim took custody of the device and attempted to process the

cellular device resulting in an unsuccessful extraction. S/A Oppenheim later sent the cellular

device to ATF's Digital Forensics Branch (DFB) to be processed with additional forensic

techniques. The DFB was able to extract data from the cellular device using an additional software

pïogram.

        17.    On August I,2019, S/A Oppenheim processed the extracted data which resulted in

the recovery of multiple videos and images captured on the cellular device. S/A Rettig reviewed



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        Case 3:19-cr-00223-MPS Document 1-1 Filed 08/21/19 Page 6 of 7




the subsequent extraction of the cellular device and located what appears to be a Snapchat video

on the cellular device with metadata reflecting the date and time of January 2, 2019, at

approximately 6:06 PM, depicting REDMOND in possession of a firearm. The aforementioned

firearm appears to be consistent with the seized stolen Smith & Wesson Model SV/l911CT, .45

caliber pistol, SA{: UC22032, to include the placement of the grip laser, he was arrested with on

January 22,2019. It should be noted that the firearm was reported stolen in the city of New Britain,

CT on 1212912018, which was only four days before REDMOND can be seen with a firearm

consistent with the stolen firearm in what appears to be a Snapchat video and approximately twenty

days before REDMOND possessed the firearm in Stamford.




   C. INTERSTATE NEXUS OF THE FIREARM

       18. On August 19,2019, ATF S/A Oppenheim, an interstate nexus experl, examined
the Smith & Wesson Model SWl91 ICT, .45 caliber pistol, SÀ{: UCZ2032 which was seized from

REDMOND's person on January 22,2019 in Stamford, CT. S/A Oppenheim opined that the Smith

&. Vy'esson Model SW1911CT, .45 caliber pistol, SÀtr: UC22032, was manufactured in


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           Case 3:19-cr-00223-MPS Document 1-1 Filed 08/21/19 Page 7 of 7




Massachusetts. Based on the fact that the firearm was located in Connecticut, I know that the

firearm traveled in interstate and/or foreign conìmerce.

        F. CONCLUSION
           19.     Based on the Stamford Police Department's arrest of REDMOND, it is evident that

he traveled to Stamford, CT on January 22,2019 and was in possession of a stolen firearm. It

should also be noted that due to the short time period between the firearm being reported stolen in

New Britain, CT on December 29,2019, and the video located on CRUZ-BERzuOS' cellular

device with metadata indicating the date of January 2,2019, it appears REDMOND had possession

of a firearm which is consistent with the firearm located in Stamford, CT, approximately four days

after the firearm was reported stolen.

        20.        Therefore, I respectfully submit that there is probable cause to believe, and I do

believe, that REDMOND committed a violation of Title 18 U.S.C. $$ 9220), possession of a stolen

firearm.

        21.        In consideration of the foregoing, I respectfully request that this Court issue a

criminal complaint and arrest warrant charging REDMOND with a violation of 18 U.S.C. $$

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                                         Special Agent
                                         Bureau of Alcohol, Tobacco, Firearms and Explosives


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